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                          ** NOT FOR PRINTED PUBLICATION **

                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                       LUFKIN DIVISION

JAMES ERIC LOFTEN                                §

VS.                                              §                 CIVIL ACTION NO. 9:20cv234

DIRECTOR, TDCJ-CID, ET AL.                       §

                         ORDER ACCEPTING THE MAGISTRATE
                       JUDGE’S REPORT AND RECOMMENDATION
       Plaintiff James Eric Loften, an inmate at the Eastham Unit, proceeding pro se, brought the

above-styled lawsuit pursuant to 42 U.S.C. § 1983.

       The court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, for consideration pursuant to applicable laws and orders of this court. The Magistrate Judge

recommends this action be dismissed without prejudice.

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record and pleadings. No objections

to the Report and Recommendation of United States Magistrate Judge were filed by the parties.

                                            ORDER

       The findings of fact and conclusions of law of the Magistrate Judge are correct and the report

of the Magistrate Judge is ACCEPTED. A final judgment will be entered in this case in accordance

with the Magistrate Judge’s recommendations.

               So ORDERED and SIGNED, Mar 28, 2021.


                                                                   ____________________
                                                                   Ron Clark
                                                                   Senior Judge
